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                                 UN ITED STA TES DISTR IC T C O UR T
                                 SO U TH ER N D ISTR ICT O F FL O R ID A

                                 CA SE N O .09-20317-CR -K M M /L O UIS

  UN ITED STA TES O F A M ER ICA

  VS.

  Y O EL G U TIER R EZ PER EZ,

                 D efendant.
                                               /

                                         FA CTU AL PR O FFER

         Ifthism atterhad proceeded to trial,the governm entand the defendant YoelGutien'ez

  Perez(thelGdefendanf),by andthroughhisattorney,herebyagreethat,werethiscasetoproceed
  to trial,the United Statesw ould prove beyond a reasonable doubtthe following facts,nm ong

  others,w hich occurred,in the Southern DistrictofFlorida:

         1.      The M edicaze Progrnm (lGM edicare'') was a federal health care progrnm that
 provided free orbelow-costhealth carebenefitsto individualswho weresixty-fiveyeazsofageor

  olderordisabled.Thebenefits available tmderM edicare were governed by federalstatutes and

 regtllations.TheUnited StatesDepartmentofHea1th and Hllman Services(G&HHS''),tllrough its
  agency the CenterforM edicare atld M edicaid Services (:GCM S''),oversaw and administered
                                                           $
                                                           ,


 M edicare.Individuals who received benefits unberM edicare were commonly refen'ed to as
 M edicare iGbenet'iciazies.''

         2.      M edicarewasaGihealth carebenefitprogrnm ''asdefined in Title 18,United States

  Code,Section2408.
                 M edicarewassubdivided into multipleprogram ftparts.''M edicare PartA covered

  health care services provided by hospitals,sldlled nursing facilities,hospices,and hom e health
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  agencies. M edicare Part B covered physician services and outpatient care, including an

  individual'saccesstodtlrablemedicalequipment((GDM E'').
         4.       DM E w as equipm ent designed for everyday or extended use and for a m edical

  purpose,such as orthotic devices,speech generating devices,collagen dressing,wheelchairs,

  prùstheticlim bs,wheelchairs,nebulizers,and oxygen concentrators.

                  DM E companies,physicians,and otherhealth careprovidersthatprovided services

  to M edicarebeneficiarieswere referred to asM edicare çtproviders.''To participate in M edicare,

  providersw ererequired to subm itan application in w hich theprovidersagreed to com ply w ith a11

  M edicare-related lawsand regulations.IfM edicare approved aprovider's application,M edicare

  assigned the provider a M edicare GEprovider num ber.''A health care provider w ith a M edicare

  providernllmbercould fileclaim swith M edicaretoobtainreimbtlrsem entforservicesrenderedto

 beneficiariej.

                  Erlrolled M edicareprovidersagreed to abidebythepolicies,procedtlres,rules,and

  r'egulations govenling reimbtlrsem ent. To receive M edicare flznds, erlrolled providers were

 required to abide by the Anti-loickback Statute and otherlaws and regulations.Pfoviderswere

  given accessto M edicare m anuals and setwices bulletins describing billing procedures,nlles,and

  regulations.

                  M edicare reimbtlrsed DM E companies and otherhealth care providersfor item s
                                                                  .




  and serdcesrenderedto beneficiaries.Toreceivepaym entfrom M edicare,providerssubm itted or

  caused thesubm ission ofcléim sto M edicare,eitherdirectly ortltrough abilling company.

         8.       A M edicare claim forD M E reim blzrsem entw asrequired to setforth,am ong other

  things,thebeneficiary'snam e atld.tm ique M edicareidentification nllm ber,the equipm entprovided

  to the benetk iary,the date the equipm entw as provided,the costofthe equipm ent,and the nam e
    a                        ,                                                                                   '''N
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          and unique physician identification num ber of the physician who prescribed or ordered the

          equipm ent.                                                                       '

                 9.     A claim forDM E subm ittedto M edicarequalified forreirpbursem entonly ifitwas

          medicallynecessaryforthetreatmentofthebeneficiary'sillnessorinjury,prescribedbyalicensed
          physician,and actually provided tothebeneficiary asbilled.

                 10.    From in orarotm dJtme2006,through in oraround Septem ber2006,thedefendant

          engaged in a schemeto unlawfully emich himselfby,among otherthings:(a)submitdng and
          causing the subrnission offalse and fraudulentclaim sto a health care benefitprogrnm through

          interstatewirecommunications;(b)concealingthesubmission offalseandfraudulentclaimsto a
                                                                                   '
                                  .


          healthcarebenefitprogram;(c)concealingthereceiptofthefraudproceeds;and(d)divertingthe
          fraudproceedsfortheirpersonaluseand benelit.

                 11.    '1n ftzrtherance of the schem e,the defendant provided his personal identifying

          irfformation and signed variousdoclzm entsrepresentingto theFlorida Secretary ofState,Bnnk 1,

          and M edicare thatthe defendantwas an officer and authorized representative of Best Choose

          M edicalSupplies,Inc.(tGBestChoose'),aFlorida coporation located in M inmi,Flèrida,that
:         purportedly provided DM E to M edicarebeneficiaries.

                 12. Specitually,thedefendantsigned thefollowing doc'lmentsin wiich hecertified
:         thathewasan officerand authorizedrepresentativeofBestChoose:'                          .
E                       a.       On oraboutJtm e 16, 2006 m,d August 1,2006,respectively,the defbndant
:                                                                                                    .

:
                                 signed a Certification Statem entastheAuthorized OfficialofBestUhoose
                                 in which he certified that he Was the Director/officer and Authorized

                                 Official for Best Choose, w hich certifcations w ere subsequently

                                 transm itted to M edicare.                                                  '



                                                              3                                          .
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                   b.     On oraboutJtm e 19,2006,thedefendantsigned ArticlesofAm endm entto

                          Articles of lncorporation ofBestChoose in w hich he certified thathe w as

                          the President,Secretary,Treastlrer,and R egistered AgentofB est Choose.

                          Thatdocum entwas subm itted to both the Florida Secretary of State and

                          M edicareasproofthatthedefendantwasthetnzeownerofBestChoose.

                   C.     On or about Jtm e 19, 2006, the defendant signed a signature card and

                          Certificate ofR esolutions as an OfficerofBestChoose so thathe could be

                          added as a signatory to BestChoose's businesscheclcing account,ending in

                          -   6863,atBarzk 1.

                   From in orarolm d June 2006,through in or around Septem ber 2006,B estChoose

  billed M edicare for DM E claim s,which claim swere submitted through an Intem etportalthat

  caused         com mllnication in interstate comm erce. One of those claim s, Claim No.

  06185896695000,wassubmittedonoraboutJuly4,2006,onbehalfofheneficiaryA.M .,forNeg
  presswolm d therapy pump,in the amolmtof$2,100.
                   Dr.A .B.w asthe pup orted prescribing physician for approxim ately 2,818 claim s

  subm ittedby BestChoose,includingClaim N o.06185896695000.Dr.A .B.,however,didnottreat

  anyofthepatientsorprescribeanyoftheDM E forwiichBestChoosebilledM edicareforDM E.
           15.     From on oraboutJune22,2006,throughon oraboutSeptem ber29,2006,M edicare

  paidBestChooseapproxim ately $595,690 forfraudulently-billed DM E claim sthrough electronic
  fundstransfersand checksinto BestChoose'sbusinesschecking account,ending in -6863,atB ank

  1 in the Southern D istrictofFlorida while the defendantw as a signatory.
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           16.    The United States of Am erica does nothave any evidence that the defendant

  personally submitted thefraudulentbilling to M edicare.According to the defendant,hereceived

  approxim ately $10,000 tosign documentsand actasasham owner.
                 On or aboutA ugust 17,2022,the defendant entered the cotm try and w as arrested.

  TheUnited StatesofAm erica doesnothaveany evidencethatthedefendantl
                                                                   .cnew hewassubject
  to indictmentpriortore-entry intothe Southern Districtofflorida.

           18.   Thesearenottheonly factsknown tö theUnited StatesofAmerica in tllism atler,

  norarethey a11ofthefactsthattheUnitqd StatesofAm ericawould present,had thiscasegoneto

  trial.


                                              JuM AN TON IO G ON ZA LEZ
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